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                            UNiTED STATES DiSTRiCT COURT
                             SOUTHERN DiSTRiCT OF OHiO
                                  EASTERN DIViSiON



John Doe 1,

       Plaintiff,                                 Civil Action 2:18-cv-712

       V.                                         Judge Michael H. Watson

Ohio State University, et al.,                    Chief Magistrate Judge Deavers

       Defendants.




John Does 37-66,

              Piaintiffe,                         Civii Action 2:19-cv-3165

       V.                                         Judge Michaei H. Watson

The Ohio State University,                        Chief Magistrate Judge Deavers

              Defendant.



                                          ORDER

       These cases involve common questions of law and fact with related cases 2:18-

cv-692 and 2:18-cv-736. Pursuant to this Court's March 15, 2019 Order, EOF No. 69,

2:18-cv-692, the Court CONSOLiDATES these cases with the aforementioned cases

during the pendency of mediation. See Fed. R. Civ. P. 42(a). During the period of

consolidation, all filings shall be filed In Case No. 2:18-cv-692.

       IT iS SO ORDERED.



                                                        ATSON, JUDGE
                                       UNiTED STATES DISTRICT COURT
